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                                 #:5112




              Exhibit R
              Exhibit R
                 to
                 to Declaration
                    Declaration of
                                of Robert
                                   Robert Frommer
                                          Frommer




                                Exhibit
                                Exhibit R
                                        R
                                  1630
                                  1630
      Case 2:21-cv-04405-RGK-MAR Document 125-1 Filed 08/10/22 Page 2 of 18 Page ID
                                       #:5113



 1     TRACY L.
       TRACY      L. WILKISON
                     WILKISON
[S—




       United  States Attorney
       United States   Attorney
 2     SCOTT M.
       SCOTT     M. GARRINGER
                     GARRINGER
       Assistant   United States
       Assistant United   States Attorney
                                 Attorney
WN




 3     Chief,
       Chief, Criminal
              Criminal Division
                       Division
       ANDREW BROWN
       ANDREW BROWN (Cal.
                     (Cal. Bar No. 172009)
                           Bar No. 172009)
 4     VICTOR A.
       VICTOR     A. RODGERS
                     RODGERS        (Cal. Bar
                                    (Cal. Bar No.   101281)
                                               No. 101281)
BAB




       MAXWELL COLL
       MAXWELL        COLL (Cal.
                              (Cal. Bar
                                     Bar No.   312651)
                                          No. 312651)
 5     Assistant United
       Assistant  United States
                          States Attorneys
                                  Attorneys
Wn




       Major Frauds/Asset
       Major  Frauds/Asset Forfeiture/
                              Forfeiture/
 6     General Crimes
       General   Crimes Sections
                         Sections
ON




              1100/1400/1200 United
              1100/1400/1200      United States
                                          States Courthouse
                                                  Courthouse
 7            312 North
              312         Spring Street
                   North Spring    Street
9




              Los Angeles,
              Los  Angeles, California
                              California 90012
                                          90012
 8            Telephone: (213) 894-0102/2569/1785
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              Facsimile: (213)
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 9            E-mail: Andrew.Brown@usdoj.gov
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©




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10                     Maxwell.Coll@usdoj.gov
                       Maxwell.Coll@usdoj.gov
11     Attorneys
       Attorneys for
                 for Defendants
                     Defendants
       UNITED
       UNITED    STATES
                 STATES OF OF AMERICA,
                              AMERICA, et
                                       et al.
                                          al.
12
13                                   UNITED STATES
                                     UNITED STATES DISTRICT
                                                   DISTRICT COURT
                                                            COURT
14                           FOR
                             FOR THE
                                 THE CENTRAL
                                     CENTRAL DISTRICT
                                             DISTRICT OF
                                                      OF CALIFORNIA
                                                         CALIFORNIA
15                                          WESTERN
                                            WESTERN DIVISION
                                                    DIVISION

16     PAUL
       PAUL SNITKO,
             SNITKO, JENNIFER
                      JENNIFER SNITKO,
                                SNITKO,                 Case No. 2:21-CV-04405-RGK-MAR
                                                        Case No. 2:21-CV-04405-RGK-MAR
       JOSEPH
       JOSEPH RUIZ,
               RUIZ, TYLER
                     TYLER GOTHIER,
                            GOTHIER,
17     JENI
       JENI VERDON-PEARSONS,
            VERDON-PEARSONS,                            DEFENDANTS
                                                        DEFENDANTS UNITED
                                                                     UNITED STATES
                                                                              STATES OFOF
       MICHAEL
       MICHAEL STORC,
                 STORC, AND
                         AND TRAVIS
                              TRAVIS                    AMERICA, ET
                                                        AMERICA,  ET AL.’S
                                                                     AL.’S
18     MAY,   >                                         SUPPLEMENTAL
                                                        SUPPLEMENTAL RESPONSES
                                                                         RESPONSES TOTO
                                                        PLAINTIFFS’
                                                        PLAINTIFFS’ SECOND
                                                                    SECOND SET
                                                                             SET OF
                                                                                  OF
19                     Plaintiffs,
                       Plaintiffs,                      INTERROGATORIES
                                                        INTERROGATORIES

20                            v.
                              V.

21     UNITED STATES
       QNITED STATES OF
                     OF AMERICA,
                        AMERICA, ET
                                 ET
       AL.,
          *

22
23                     Defendants.
                       Defendants.

24
25                Pursuant
                  Pursuant to
                           to Rule
                              Rule 33
                                   33 of
                                      of the
                                         the Federal
                                             Federal Rules
                                                     Rules of
                                                           of Civil
                                                              Civil Procedure,
                                                                    Procedure, Defendants
                                                                               Defendants United
                                                                                          United
26     States of
       States of America,
                 America, Tracy
                          Tracy L.
                                L. Wilkison,
                                   Wilkison, in
                                             in her
                                                her official
                                                    official capacity
                                                             capacity as
                                                                      as Acting
                                                                         Acting United
                                                                                United States
                                                                                       States
27     Attorney
       Attorney for
                for the
                    the Central
                        Central District
                                District of
                                         of California,
                                            California, and
                                                        and Kristi
                                                            Kristi Koons
                                                                   Koons Johnson,
                                                                         Johnson, in
                                                                                  in her
                                                                                     her official
                                                                                         official
28     capacity as
       capacity as an
                   an Assistant
                      Assistant Director
                                Director of
                                         of the
                                            the Federal
                                                Federal Bureau
                                                        Bureau of
                                                               of Investigation
                                                                  Investigation (collectively.
                                                                                (collectively.
                                              Exhibit
                                              Exhibit R
                                                      R
                                                1631
                                                1631
      Case 2:21-cv-04405-RGK-MAR Document 125-1 Filed 08/10/22 Page 3 of 18 Page ID
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 1     “Defendants”), by
       “Defendants”), by their
                         their attorneys,
                               attorneys, hereby
                                          hereby submit
                                                 submit these
                                                        these supplemental
                                                              supplemental responses
                                                                           responses to
                                                                                     to the
                                                                                        the
[S—




 2     Plaintiffs’ Second
       Plaintiffs’ Second Set
                          Set of
                              of Interrogatories
                                 Interrogatories as
                                                 as set
                                                    set forth
                                                        forth below.
                                                              below.
WN




 3     INTERROGATORY
       INTERROGATORY NO.
                     NO. 9:
                         9:
 4           Identify all
             Identify all individuals
                          individuals who
                                      who had
                                          had property
                                              property seized
                                                       seized from
                                                              from the
                                                                   the U.S.
                                                                       U.S. Private
                                                                            Private Vaults
                                                                                    Vaults
BAB




 5     facility in
       facility in March
                   March 2021,
                         2021, whose
                               whose identity
                                     identity is
                                              is known
                                                 known to
                                                       to the
                                                          the FBI,
                                                              FBI, and
                                                                   and whose
                                                                       whose property was
                                                                             property was
Wn




 6     subsequently returned.
       subsequently returned. For
                              For each
                                  each individual,
                                       individual, state
                                                   state the
                                                         the individual’s
                                                             individual’s name
                                                                          name and
                                                                               and U.S.
                                                                                   U.S. Private
                                                                                        Private
ON




 7     Vaults box
       Vaults     number.
              box number.
9




 8     SUPPLEMENTAL RESPONSE
       SUPPLEMENTAL RESPONSE TO
                             TO INTERROGATORY
                                INTERROGATORY NO.
                                              NO. 9:
                                                  9:
0




 9           Defendants maintain
             Defendants maintain their
                                 their original
                                       original objections
                                                objections to
                                                           to this
                                                              this interrogatory
                                                                   interrogatory but,
                                                                                 but, without
                                                                                      without
©




10     waiving those
       waiving those objections,
                     objections, identify
                                 identify below each individual’s
                                          below each individual’s name
                                                                  name and
                                                                       and U.S.
                                                                           U.S. Private
                                                                                Private Vaults
                                                                                        Vaults
11     box number whose
       box number whose property seized from
                        property seized from their
                                             their boxes
                                                   boxes has
                                                         has been
                                                             been returned,
                                                                  returned, or
                                                                            or is
                                                                               is assigned
                                                                                  assigned for
                                                                                           for
12     return, in its
       return, in its entirety
                      entirety even
                               even though
                                    though some
                                           some individuals
                                                individuals may
                                                            may claim
                                                                claim that
                                                                      that some
                                                                           some of
                                                                                of their
                                                                                   their property
                                                                                         property
13     has
       has not been returned
           not been returned because
                             because it
                                     it is
                                        is missing,
                                           missing, converted
                                                    converted or
                                                              or otherwise.
                                                                 otherwise. In
                                                                            In addition,
                                                                               addition, the
                                                                                         the
14     government notes
       government notes that
                        that the
                             the identity
                                 identity of
                                          of these
                                             these individuals
                                                   individuals is
                                                               is not
                                                                  not necessarily
                                                                      necessarily “known”
                                                                                  “known” to
                                                                                          to the
                                                                                             the
15     government (as
       government (as requested
                      requested by this interrogatory
                                by this interrogatory and
                                                      and is
                                                          is therefore
                                                             therefore overbroad
                                                                       overbroad because the
                                                                                 because the
16     class is
       class is limited
                limited to
                        to persons who have
                           persons who have “identified
                                            “identified themselves”
                                                        themselves” to
                                                                    to the
                                                                       the government)
                                                                           government) as
                                                                                       as the
                                                                                          the
17     government can
       government can only
                      only provide its best
                           provide its best estimate
                                            estimate of
                                                     of the
                                                        the identity
                                                            identity of
                                                                     of these
                                                                        these persons
                                                                              persons based
                                                                                      based upon
                                                                                            upon
18     the information
       the information available
                       available to
                                 to it
                                    it from
                                       from information
                                            information contained
                                                        contained in
                                                                  in their
                                                                     their U.S. Private Vaults
                                                                           U.S. Private Vaults
19     box or other
       box or other communication
                    communication with
                                  with the
                                       the government,
                                           government, and
                                                       and U.S.
                                                           U.S. Private
                                                                Private Vaults
                                                                        Vaults had
                                                                               had aa
20     business model that
       business model that allowed
                           allowed boxholders
                                   boxholders to
                                              to open
                                                 open boxes at the
                                                      boxes at the facility
                                                                   facility anonymously.
                                                                            anonymously. The
                                                                                         The
21     information is
       information is as
                      as follows
                         follows and
                                 and is
                                     is hereby
                                        hereby designated
                                               designated as
                                                          as CONFIDENTIAL-SUBJECT
                                                             CONFIDENTIAL-SUBJECT TO
                                                                                  TO
22     PROTECTIVE ORDER:
       PROTECTIVE ORDER:
23           Box Number
             Box Number          Box Holder
                                 Box Holder
24           33
25           20
             20
26           22
             22                                 ,
27           24
             24
28           31
             31
                                           Exhibit
                                           Exhibit2 R
                                                    R
                                             1632
                                             1632
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 1          32                              /
 2          33
 3          34
 4          38
 5          50
 6          52
 7          101
            101
 8          104
            104
 9          105
            105
10
10          106
            106
11
11          108
            108
12
12          109
            109
13
13          110
            110
14
14          113
            113
15
15          117
            117
16
16          125
            125
17
17          126
            126
18
18          127
            127
19
19          131
            131
20
20          132
            132
21
21          137
            137
22
22          139
            139
23
23          201
            201
24
24          203
            203
25
25          207
            207
26
26          208
            208
27
27          210
            210
28
28          221
            221
                                     Exhibit
                                     Exhibit 3 R
                                               R
                                       1633
                                       1633
     Case 2:21-cv-04405-RGK-MAR Document 125-1 Filed 08/10/22 Page 5 of 18 Page ID
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 1          224
            224
=




 2          225
            225
WN




 3          226
            226
 4          227
            227
BA




 5          228
            228
nn




 6          233
            233
ON




 7          236
            236
J




 8          237
            237
00




 9          305
            305
©




10          309
            309
11          310
            310
12          311
            311
13          316
            316
14          319
            319                               /
15          321
            321
16          323
            323
17          327
            327
18          328
            328
19          334
            334                               and/or
20          336
            336
21          337
            337
22          339
            339                       and
                                          =
                                      o




23          500
            500                           and
24          502
            502
25          505
            505
26          510
            510
27          512
            512
28          513
            513
                                     Exhibit
                                     Exhibit4 R
                                              R
                                       1634
                                       1634
      Case 2:21-cv-04405-RGK-MAR Document 125-1 Filed 08/10/22 Page 6 of 18 Page ID
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 1           602
             602
—




 2           603
             603
WN




 3           615
             615
 4           616
             616
BAB




 5           700
             700
Wn




 6           702
             702
ON




 7           703
             703
9




 8           713
             713
0




 9           716
             716
©




10           802
             802
11           803
             803
12           809
             809
13           814
             814
14           901
             901
15           902
             902
16           913
             913
17           1000
             1000
18           1001
             1001
19           1102
             1102
20           1108
             1108
21           1110
             1110
22           1200
             1200
23           1208
             1208
24           1212
             1212
25           1300
             1300
26           1301
             1301                        onc IEEE
                                         and
27           1302
             1302                              0
                                               and
28           1400
             1400
                                      Exhibit
                                      Exhibit 5 R
                                                R
                                        1635
                                        1635
      Case 2:21-cv-04405-RGK-MAR Document 125-1 Filed 08/10/22 Page 7 of 18 Page ID
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 1           1402
             1402
—




 2           1403
             1403
WN




 3           1503
             1503
 4           1504
             1504                  /
BAB




 5           1600
             1600
Wn




 6           1601
             1601
ON




 7           1602
             1602
9




 8           1604
             1604
0




 9           1607
             1607
©




10           1700
             1700
11           1703
             1703
12           1704
             1704
13           1801
             1801
14           1802
             1802
15           1803
             1803
16           1900
             1900
17           1902
             1902
18           1912
             1912
19           2000
             2000
20           2001
             2001
21           2004
             2004
22           2010
             2010
23           2100
             2100
24           2102
             2102
25           2105
             2105
26           2202
             2202
27           2301
             2301
28           2302
             2302
                                       Exhibit
                                       Exhibi¢6 R
                                                R
                                         1636
                                         1636
      Case 2:21-cv-04405-RGK-MAR Document 125-1 Filed 08/10/22 Page 8 of 18 Page ID
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 1           2303
             2303
—




 2           2309
             2309
WN




 3           2400
             2400
 4           2401
             2401
BAB




 5           2402
             2402
Wn




 6           2408
             2408
ON




 7           2501
             2501
9




 8           2503
             2503
0




 9           2504
             2504
©




10           2505
             2505
11           2509
             2509
12           2512
             2512
13           2601
             2601
14           2610
             2610
15           2700
             2700
16           2701
             2701
17           2702
             2702
18           2712
             2712
19           2802
             2802
20           2808
             2808
21           2902
             2902
22           3000
             3000
23           3004
             3004
24           3010
             3010                               /                /
                                                                 ~~




25           3016
             3016
26           3017
             3017
27           3100
             3100
28           3103
             3103
                                      Exhibit
                                      Exhibit7 R
                                               R
                                        1637
                                        1637
      Case 2:21-cv-04405-RGK-MAR Document 125-1 Filed 08/10/22 Page 9 of 18 Page ID
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 1           3105
             3105
—




 2           3106
             3106
WN




 3           3107
             3107
 4           3201
             3201
BAB




 5           3206
             3206
Wn




 6           3301
             3301                      and
ON




                                        ol
                                       ©
                                       =
 7           3303
             3303                            and




                                             o.
9




                                             ©
                                             =
 8           3304
             3304
0




 9           3307
             3307
©




10           3404
             3404
11           3405
             3405                  /               -
12           3406
             3406
13           3500
             3500
14           3501
             3501
15           3503
             3503
16           3505
             3505
17           3600
             3600
18           3607
             3607
19           3700
             3700
20           3705
             3705                              ,
                                               »




21           3706
             3706
22           3800
             3800
23           3801
             3801
24           3802
             3802
25           3803
             3803
26           3807
             3807
27           3900
             3900
28           3905
             3905
                                       Exhibit
                                       Exhibit8 R
                                                R
                                         1638
                                         1638
      Case 2:21-cv-04405-RGK-MAR Document 125-1 Filed 08/10/22 Page 10 of 18 Page ID
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 1           3906
             3906
—




 2           4004
             4004
WN




 3           4006
             4006
 4           4100
             4100
BAB




 5           4101
             4101
Wn




 6           4107
             4107
ON




 7           4200
             4200
9




 8           4204
             4204
0




 9           4301
             4301                                             /
©




10           4307
             4307
11           4401
             4401
12           4404
             4404
13           4406
             4406
14           4500
             4500
15           4601
             4601
16           4605
             4605
17           4705
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18           4807
             4807
19           4900
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20           4901
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21           4902
             4902
22           4906
             4906
23           5001
             5001
24           5006
             5006
25           5100
             5100
26           5104
             5104
27           5107
             5107
28           5154
             5154
                                       Exhibit
                                       Exhibit9 R
                                                R
                                         1639
                                         1639
      Case 2:21-cv-04405-RGK-MAR Document 125-1 Filed 08/10/22 Page 11 of 18 Page ID
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 1           5155
             5155
—




 2           5157
             5157
WN




 3           5158
             5158
 4           5160
             5160
BAB




 5           5163
             5163
Wn




 6           5165
             5165
ON




 7           5202
             5202
9




 8           5203
             5203
0




 9           5210
             5210
©




10           5211
             5211
11           5212
             5212
12           5302
             5302
13           5306
             5306
14           5308
             5308
15           5311
             5311
16           5407
             5407                        and
                                         =




17           5410
             5410
18           5412
             5412
19           5505
             5505
20           5507
             5507
21           5508
             5508
22           5509
             5509
23           5511
             5511
24           5609
             5609
25           5610
             5610
26           5702
             5702
27           5703
             5703
28           5706
             5706
                                       Exhibit
                                             10 R
                                       ExhibiOR
                                         1640
                                         1640
      Case 2:21-cv-04405-RGK-MAR Document 125-1 Filed 08/10/22 Page 12 of 18 Page ID
                                        #:5123



 1           5709
             5709
—




                                      :
 2           5805
             5805




                                      :
WN




 3           5807
             5807




                                       :
 4           5809
             5809
BAB




                                                               |
 5           5810
             5810                     and
Wn




                                      =g
 6           5907
             5907
ON




 7           5908
             5908
9




 8           5909
             5909
0




 9           5910
             5910
©




10           6006
             6006
11           6007
             6007
12           6008
             6008
13           6009
             6009
14           6012
             6012
15           6104
             6104
16           6106
             6106
17           6207
             6207
18           6208
             6208
19           6210
             6210
20           6300
             6300
21           6312
             6312
22           6407
             6407
23           6409
             6409
24           6509
             6509
25           6512
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26           6513
             6513
27           6514
             6514
28           6604
             6604
                                       Exhibit
                                            11 RR
                                       Exhibit
                                         1641
                                         1641
      Case 2:21-cv-04405-RGK-MAR Document 125-1 Filed 08/10/22 Page 13 of 18 Page ID
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 1           6612
             6612
—




 2           6614
             6614




                                               :
WN




 3           6616
             6616




                                               :
 4           6703
             6703
BAB




 5           6705
             6705
Wn




 6           6706
             6706
ON




 7           6707
             6707
9




 8           6708
             6708
0




 9           6709
             6709                          /
©




                                            B
10           6711
             6711
11           6712
             6712
                                            :


12           6807
             6807
13           6808
             6808
14           6809
             6809
15           6810
             6810
16           6907
             6907
17           6910
             6910
18           7004
             7004
                                           |




19           7009
             7009
20           7010
             7010
21           7011
             7011                              or
                                           o=




22           7100
             7100
                                           :




23           7103
             7103
                                           :




24           7107
             7107
25           7108
             7108
26           7109
             7109
27           7302
             7302
28           7311
             7311
                                       Exhibit
                                             12 R
                                       ExhibitR
                                         1642
                                         1642
      Case 2:21-cv-04405-RGK-MAR Document 125-1 Filed 08/10/22 Page 14 of 18 Page ID
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 1           7312
             7312
—




 2           7313
             7313
WN




 3           7315
             7315
 4           7316
             7316
BAB




 5           7407
             7407
Wn




 6           7411
             7411
ON




 7           7413
             7413
9




 8           7417
             7417
0




 9           7420
             7420
©




10           7421
             7421
11           7509
             7509
12           7510
             7510
13           7512
             7512
14           7513
             7513
15           7515
             7515
16           7518
             7518
17           7519
             7519
18           7601
             7601
19           7602
             7602                        /
20           7604
             7604
21           7605
             7605
22           7608
             7608
23           7612
             7612
24           7614
             7614                                /
25           7616
             7616                        /
26           7618
             7618                            /
27           7619
             7619
28           7622
             7622
                                       Exhibit
                                            13 R
                                       Exhibit R
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Case 2:21-cv-04405-RGK-MAR Document 125-1 Filed 08/10/22 Page 18 of 18 Page ID
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  1                                       VERIFICATION
  2         I, Lynne Zellhart, hereby declare that:
  3         I am a Special Agent with the Federal Bureau oflnvestigation. I have read the

  4   above Defendants United States of America et. al. ' s supplemental responses to plaintiffs '

  5   second set of interrogatories. As to the answers, I am informed and believe that the

  6
      answers are true.
            I declare under penalty of perjury under the laws of the United States that the
  7
      foregoing is true and correct.
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            Executed on April   li,2022 at Los Angeles, California.
 10                                                   ~ ~,~
 11                                                       LYNNE ZEiLHART
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